
*163OPINION.
Trussell :
The facts clearly establish that the amounts totaling $37,881.20, paid to the petitioner’s officers during 1927 and deducted *164upon its tax return as compensation of officers, constituted commissions earned by each of such officers by their personal efforts in writing insurance and surety bonds, and, further, that the amounts received by such officers were less than they had actually earned. The respondent erred in disallowing the amount of $8,520 as a deduction from petitioner’s gross income for 1927.
The amount of $49.50 club dues was spent for the sole benefit of petitioner’s employees and was a part of the expense of the annual picnic, from which petitioner’s business received a direct benefit. Such expense falls within the class of an ordinary and necessary business expense and as such was deductible from petitioner’s gross income for 1927. The respondent erred in disallowing such deduction.
The contributions totaling $140 constituted gifts and the benefits, if any, derived by petitioner’s business were indirect and remote. The respondent properly disallowed the claimed deduction of the said $140 as a business expense.

Judgment will be entered fu/rsuant to Rule 60.

